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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

JESSE ALAN WALKER,

         Plaintiff,

v.                                                  CASE NO. 3:17cv206-TKW-HTC

MARK INCH, et al.,

     Defendants.
_________________________________/

                                           ORDER

         This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 62) and Defendants’ objections to the Report and

Recommendation (Doc. 65). The magistrate judge recommends that Defendants’

motion for summary judgment (Doc. 57) be granted in part and denied in part. Based

on my de novo review of the issues raised in the objections, I agree with the

magistrate judge’s recommended disposition of Defendants’ motion for summary

judgment.1 Accordingly, it is


     1
      I have not overlooked the new “evidence” proffered by Defendants in their objections to the
Report and Recommendation in response to the magistrate judge’s determination that Defendants
failed to overcome the doctrine of voluntary cessation. See Doc. 65, at 4-5. However, I agree with
the magistrate judge that Defendants should have submitted this evidence with their motion for
summary judgment, not after the magistrate judge’s ruling. See Doc. 64, at 3-4 (“[I]f Defendant
Inch’s position is that he has additional information which would resolve this case without the
need for trial, then that information should have been submitted with Defendants’ Motion for
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       ORDERED that:

       1. Defendants’ objections to the Report and Recommendation are

          OVERRULED, and the Report and Recommendation is ADOPTED and

          incorporated into this Order.

       2. Defendants’ motion for summary judgment (Doc. 57) is

              a. GRANTED as to Defendants Jimmy Coker, Micha Neal, Susan

                  Dove, Matthew Jackson, Anne Dittman, Cliff Neal, Curtis Greene,

                  Maurice Radford, and Kate Gustafson; and

              b. DENIED as to Defendant Mark Inch.

       3. The case is referred to the magistrate judge for further pretrial proceedings

          on Plaintiff’s official capacity Eighth Amendment Claim against

          Defendant Inch.

       DONE AND ORDERED this 26th day of July, 2019.



                                     T. Kent Wetherell, II
                                    T. KENT WETHERELL, II
                                    UNITED STATES DISTRICT JUDGE



Summary Judgment. Defendants’ failure to make a more thorough argument regarding mootness
[and the doctrine of voluntary cessation] in their Motion for Summary Judgment does not justify
giving them a second opportunity to do so.”) (citation omitted).

                                              2
